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5    Attorney for Defendant,
     GREGORIO NUNEZ,
6

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8                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
9
                                   EASTERN DIVISION
10

11
                                                   )   Case No. 2:17-CR-00155
                                                   )
     UNITED STATES OF AMERICA,                     )
12                                                     WAIVER OF DEFENDANT’S
                                                   )
                                                   )   PRESENCE
13   Plaintiff,
                                                   )
                                                   )
14   v.                                            )
                                                   )
15   GREGORIO NUNEZ,                               )
                                                   )
16
     Defendant.                                    )

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18           Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, the defendant,

19   Gregorio Nunez, hereby waives the right to be present in person in open court upon the

20   hearing of any motion or other proceeding in this case, including, but not limited to, when

21   the case is set for trial, when a continuance is ordered, and when any other action is taken

22   by the court before or after trial, except upon arraignment, plea, empanelment of jury and

23   imposition of sentence. Defendant hereby requests the Court to proceed during every

24   absence of his which the Court may permit pursuant to this waiver; agrees that his

25   interests will be deemed represented at all times by the presence of his attorney, the same

26   as if defendant were personally present; and further agrees to be present in court ready for

27   trial any day and hour the Court may fix in her absence. Defendant further acknowledges

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     that he has been informed of his rights under Title 18 U.S.C. §§3161-3174 (Speedy Trial
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     Act), and authorizes his attorney to set times and delays under that Act without defendant
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     being present.
4
     Dated: October 18, 2017                      ____________/s/______________________
5                                                 GREGORIO NUNEZ, Defendant
                                                  (Original Retained by Attorney)
6

7
            I agree with and consent to my client’s waiver of appearance.
8

9    Dated: October 18, 2017                      ___________/s/_______________________
                                                  MARIO RODRIGUEZ
10
                                                  Attorney for Defendant
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12          IT IS SO ORDERED.
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     Dated: October 26, 2017

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